Case 23-17261-JNP                    Doc
                                       Filed 02/08/24 Entered 02/08/24 17:07:26                                          Desc Main
                                        Document
      Fill in this information to identify the case: Page 1 of 5

      Debtor 1      HAYDEE VELAZQUEZ AKA HAYDEE VELAZQUEZ ARCE

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the District of New Jersey

      Case number 23-17261-JNP




 Official Form 410S2
 Amended Notice of Postpetition Mortgage Fees, Expenses, and Charges
 12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: Freedom Mortgage Corporation                               Court claim no. (if known): 11

  Last four digits of any number you use to
  identify the debtor’s account: 5417

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
           No
           Yes. Date of the last notice: 12/14/2023



  Part 1: Itemize Amended Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                       Dates incurred                                Amount

    1. Late charges                                                                                                       (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                                    (2)   $ 0.00
                                                                         09/05/2023: Plan Review Fee @ $250.00;
    3. Attorney’s fees                                                09/12/2023: Objection to Plan-Confirmation Fee      (3)   $ 525.00
                                                                                        @ $275.00
    4. Filing fees and court costs                                                                                        (4)   $ 0.00
                                                                      10/27/2023: Preparation/Filing of Proof of Claim
    5. Bankruptcy/Proof of claim fees                                                                                     (5)   $ 550.00
                                                                                     Fee @ $550.00
    6. Appraisal/Broker’s price opinion fees                                                                              (6)   $ 0.00
    7. Property inspection fees                                                                                           (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                          (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                                    (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                           (10)   $ 0.00
  11. Other. Specify:                                                                                                    (11)   $ 0.00
  12. Other. Specify:                                                                                                    (12)   $ 0.00
  13. Other. Specify:                                                                                                    (13)   $ 0.00
  14. Other. Specify:                                                                                                    (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2               Amended Notice of Postpetition Mortgage Fees, Expenses, and Charges                                      page 1
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    Debtor1    HAYDEE VELAZQUEZ AKA HAYDEE VELAZQUEZ                     Case number (if known) 23-17261-JNP
    ARCE
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Amended Notice must sign it. Sign and print your name and your title, if any, and state
    your address and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Amended Notice is true and correct to the best of
    my knowledge, information, and reasonable belief.

     /s/Matthew Fissel
         Signature
                                                                                  Date 02/07/2024



    Print: Matthew Fissel (038152012)
           First Name           Middle Name          Last Name                    Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email N J B K R @ b r o c k a n d s c o t t . c o m




Official Form 410S2                  Amended Notice of Postpetition Mortgage Fees, Expenses, and Charges                                       page 2
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

23-23515 BKSUP01
BROCK & SCOTT, PLLC
302 Fellowship Rd, Suite 130
Mount Laurel, NJ 08054
(844) 856-6646
Attorneys for Freedom Mortgage Corporation
In Re:                                                   Case No: 23-17261-JNP

HAYDEE VELAZQUEZ AKA HAYDEE                              Hearing Date: ____________
VELAZQUEZ ARCE
                                                         Judge: JERROLD N.
                                                         POSLUSNY, JR

                                                         Chapter: 13


                          CERTIFICATION OF SERVICE

    1.    I, Tanner Summers:

              represent the ______________________ in the above-captioned matter.

              am the secretary/paralegal for BROCK & SCOTT, PLLC, who represents
           Freedom Mortgage Corporation in the above captioned matter.

             am the _________________ in the above case and am representing
           myself.

    2.     On February 7, 2024, I sent a copy of the following pleadings and/or
           documents to the parties listed below:

           Amended Notice of Postpetition Mortgage Fees, Expenses, and Charges

    3.     I hereby certify under penalty of perjury that the above documents were sent
           using the mode of service indicated.


Dated: February 7, 2024                        /s/ Tanner Summers
                                                   Tanner Summers
Case 23-17261-JNP        Doc
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                           Document       Page 4 of 5
 Name and Address of Party       Relationship of         Mode of Service
         Served                Party to the Case
                                                      Hand-delivered

                                                       Regular mail

                                                       Certified mail/RR
 Haydee Velazquez
 945 Chestnut Ave                                      E-mail
                               Debtor
 Woodbury, NJ 08097-1609
                                                       Notice of Electronic Filing
                                                    (NEF)


                                                    Other__________________
                                                     (as authorized by the court *)
                                                       Hand-delivered

                                                       Regular mail

                                                       Certified mail/RR
 Michael I. Assad
 1500 Walnut St                Debtor’s                E-mail
 Ste 900                       Attorney
 Philadelphia, PA 19102                                Notice of Electronic Filing
                                                    (NEF)


                                                    Other__________________
                                                     (as authorized by the court *)



                                                       Hand-delivered

                                                       Regular mail

                                                       Certified mail/RR
 Andrew B Finberg
 535 Route 38                                          E-mail
                               Chapter 13 Trustee
 Suite 580
 Cherry Hill, NJ 08002                                 Notice of Electronic Filing
                                                    (NEF)


                                                    Other__________________
                                                     (as authorized by the court *)
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                                                         Hand-delivered

                                                              Regular mail

                                                              Certified mail/RR
 US Dept of Justice
 Office of the US Trustee
                                                              E-mail
 One Newark Center Ste 2100     US Trustee
 Newark, NJ 07102
                                                              Notice of Electronic Filing
                                                           (NEF)


                                                           Other__________________
                                                            (as authorized by the court *)
     * May account for service by fax or other means as authorized by the court through the
     issuance of an Order Shortening Time.
